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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

UNITED STATES OF AMERICA,
Plaintiff,
CR. NO. 05-20053-Ma

VS.

JOHNNY FOSTER,

Defendant.

 

ORDER ON CONTINUZNCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on. July' 22, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning September 6, 2005 at 9:30 a.m., with a
report date of Friday, August 26, 2005 at 2:00 p.m.

The period from July 22, 2005 through September l6, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

:I:T :cs so oRDERF..D this 22°& day of August, 2005.

j/M/~Vr`_

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

Tt)is document entered on the docket sheet ln compliance
with Rule 55 and;'or 32!b) FHCrP on 125 `CE

 

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This notice confirms a copy of the document docketed as number 32 in
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Honorable Samuel Mays
US DISTRICT COURT

